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 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   VIDEO GAMING TECHNOLOGIES,               No. 2:08-CV-01241 JAM EFB
     INC., dba VGT, Inc., a
12                                            ORDER GRANTING PRELIMINARY
     Tennessee Corporation; UNITED
                                                      INJUNCTION
13   CEREBRAL PALSY OF GREATER
     SACRAMENTO, a California Non-
14   Profit Corporation; WIND YOUTH
     SERVICES, a California Non-
15
     Profit Corporation; ROBERT
16   FOSS, an individual; JOAN
     SEBASTIANI, an individual,
17
                Plaintiffs,
18

19       v.

20   BUREAU OF GAMBLING CONTROL, a
     law enforcement division of the
21
     California Department of
22   Justice; MATHEW J. CAMPOY, in
     his official capacity as the
23   Acting Chief of the Bureau of
     Gambling Control,
24

25              Defendants,

26        and
27
     CAPITAL BINGO, INC., a
28   California Corporation; HAGGIN
     GRANT POST NO. 521, THE


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 1   AMERICAN LEGION, DEPARTMENT OF
 2
     CALIFORNIA, a California Non-
     Profit Corporation; CASA ROBLE
 3   HIGH SCHOOL RAMSMEN, INC., a
     California Non-Profit
 4   Corporation; MARY BROWN, an
     individual.
 5

 6            Intervenors.
     ______________________________/
 7
          Plaintiffs Video Gaming Technologies, Inc., (“VGT”), United
 8
     Cerebral Palsy of Greater Sacramento (“UCP”), WIND Youth
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     Services (“WIND”), Robert Foss (“Foss”), and Joan Sebastiani
10
     (“Sebastiani”) brought an action for declaratory and injunctive
11
     relief over the threatened seizure of a number of electronic
12
     bingo machines.   Plaintiffs allege that the threatened seizure
13
     of their machines by Defendants Bureau of Gambling Control and
14
     its acting chief, Mathew J. Campoy (collectively, “BGC”) violate
15
     their rights under the Americans with Disabilities Act (“ADA”),
16
     42 U.S.C. §§ 12181 et seq., and under 42 U.S.C. § 1983.          On June
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     5, 2008, the Court issued a temporary restraining order
18
     enjoining the seizure and ordered BGC to show cause why a
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     preliminary injunction should not issue.        On June 17, 2008,
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     Capital Bingo, Inc. (“Capital”), Haggin Grant Post No. 521, The
21
     American Legion, Department of California (“American Legion”),
22
     Casa Roble High School Ramsmen (“CRHS”), and Mary Brown
23
     (“Brown”) were given leave to intervene.        Plaintiffs and
24
     Intervenors now move for a preliminary injunction.         BGC opposes
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     the motion.   For the reasons set forth below, the motion for a
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     preliminary injunction is GRANTED.
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 1                            FACTUAL BACKGROUND
 2           VGT and Capital manufacture electronic bingo machines that
 3   are used in California charitable bingo parlors.         The machines
 4   depict an electronic representation of a bingo card.         Players
 5   may also obtain paper cards containing the same information
 6   depicted on the screen.     The machines are linked to a common
 7   game.    Two or more players must be linked into the game for it
 8   to commence.    A computerized number generator draws bingo
 9   numbers.    Each player then presses a button to “daub” the
10   corresponding numbers on his or her electronic card.         When a
11   bingo sequence has been achieved, the player must press a button
12   to call bingo or risk “sleeping” the win.        The game cannot end
13   until a player wins.    The house never wins.
14           In May 2008, BGC served several charitable bingo parlors,
15   including those operated by UCP, WIND, the American Legion, and
16   CRHS, with cease-and-desist orders, identifying the electronic
17   bingo machines as gaming devices and stating that if the devices
18   were not removed within 30 days, criminal prosecution or seizure
19   might follow.
20                                   OPINION
21           Courts consider the following factors in determining
22   whether to issue a preliminary injunction:
23           (1) the likelihood of plaintiff's success on the merits;
             (2) the possibility of plaintiff's suffering irreparable
24
             injury if relief is not granted; (3) the extent to which
25           the balance of hardships favors the respective parties; and
             (4) in certain cases, whether the public interest will be
26           advanced by the provision of preliminary relief.
27
     United States v. Odessa Union Warehouse Co-op, 833 F.2d 172, 174
28
     (9th Cir. 1987) (citations omitted).       Plaintiffs must show

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 1   either “(1) a combination of probable success on the merits and
 2   the possibility of irreparable injury or (2) that serious
 3   questions are raised and the balance of hardships tips in its
 4   favor.”     Id.   “These two formulations represent two points on a
 5   sliding scale in which the required degree of irreparable harm
 6   increases as the probability of success decreases.”         Id.
 7        Plaintiffs and Intervenors have demonstrated that
 8   irreparable injury will result if Defendants actions are not
 9   enjoined and that the balance of hardships tips in their favor.
10   Plaintiffs and Intervenors have also demonstrated that there
11   remain serious questions about whether BGC’s threatened seizure
12   of their electronic bingo machines violates the ADA or their
13   constitutional rights.
14        As a threshold matter, the Court must consider whether it
15   should abstain from consideration of this matter under the
16   Pullman doctrine.      See Railroad Com. of Texas v. Pullman Co.,
17   312 U.S. 496 (1941).     “Pullman abstention is an extraordinary
18   and narrow exception to the duty of a District Court to
19   adjudicate a controversy that is properly before it.”          Porter v.
20   Jones, 319 F.3d 483, 492 (9th Cir. 2003) (internal citation
21   omitted).    “Pullman abstention should rarely be applied.”        Id.
22   However, Pullman abstention may be used in the discretion of the
23   trial court when:
24        (1) The complaint touches a sensitive area of social policy
          upon which the federal courts ought not to enter unless no
25
          alternative to its adjudication is open. (2) Such
26        constitutional adjudication plainly can be avoided if a
          definitive ruling on the state issue would terminate the
27        controversy. (3) The possibly determinative issue of state
          law is doubtful.
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 1   Smelt v. County of Orange, California, 447 F.3d 673, 679 (9th
 2   Cir. 2006).   If a court finds that a Pullman abstention is
 3   appropriate, it retains jurisdiction over the matter but refers
 4   the state law question to the state court.        Almodovar v. Reiner,
 5   832 F.2d 1138, 1141 (9th Cir. 1987) (“Pullman abstention requires
 6   the district court to retain jurisdiction so that the plaintiff
 7   may return to vindicate her federal constitutional rights if the
 8   state decision does not settle the issues.”).
 9        Pullman abstention is not appropriate in this case because
10   the state court’s determination would not render a decision by
11   this Court unnecessary.     BGC has already threatened seizure of
12   the Plaintiffs’ and Intervenors’ electronic bingo machines.
13   Even if the state court determined that the bingo machines were
14   illegal under California law, Plaintiffs and Intervenors might
15   still be able to maintain their ADA and 42 U.S.C. § 1983 claims,
16   claiming that the enforcement of the law deprived them of their
17   rights.   See Hydrick v. Hunter, 500 F.3d 978, 987 n.6 (9th Cir.
18   2007) (“Pullman abstention is not appropriate because the
19   driving force behind each of the Plaintiffs' claims is a right
20   guaranteed by the United States Constitution, and state court
21   clarification of state law would not make a federal court ruling
22   unnecessary.”).   Because of the nature of the underlying federal
23   claims, the Court does not find abstention to be appropriate in
24   this case.
25        Furthermore, the determinative issue of state law is not
26   doubtful in this case.     Even BGC admits that bingo is
27   specifically defined by California Penal Code § 326.5.          See Def.
28   Mem. in Opp. III(5).    Because there is clear state law


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 1   addressing the relevant issues in this case, Pullman abstention
 2   should not be applied.
 3        The second threshold question the Court must address is
 4   whether VGT, UCP, and WIND have standing to bring this case.             In
 5   their First Amended Complaint, Plaintiffs have alleged a
 6   violation of their due process rights under the United States
 7   and California constitutions and 42 U.S.C. § 1983.         Because VGT,
 8   UCP, and WIND have property interests in the machines and will
 9   be injured if their machines are seized, they have standing to
10   bring this claim.
11        VGT, UCP, WIND, Capital, American Legion, and CRHS also
12   have standing to maintain an ADA claim.       Because all these
13   organizations would suffer from a direct economic injury as a
14   result of the seizure of the electronic bingo machines, and
15   because they directly participate in the activity, they have
16   standing to challenge the seizure under the ADA.         See Pierce v.
17   Soc'y of Sisters, 268 U.S. 510, 535 (1925) (operators of a
18   school could assert right on behalf of their students).          Because
19   they have standing, VGT, UCP, WIND, Capital, American Legion,
20   and CRHS may also assert the concomitant rights of third parties
21   that would be adversely affected if their challenged failed, in
22   this case, disabled bingo players.       See Craig v. Boren, 429 U.S.
23   190, 195 (1976).
24        The Court must consider whether Plaintiffs and Intervenors
25   are likely to succeed on the merits, or if they have at least
26   indicated that there are serious question about the merits.
27   Plaintiffs have raised serious questions about whether their
28   electronic bingo machines may be seized.


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 1        California Penal Code § 326.5 defines bingo as “a game of
 2   chance in which prizes are awarded on the basis of designated
 3   numbers or symbols on a card that conform to numbers or symbols
 4   selected at random.”    Plaintiffs and Intervenors have indicated
 5   that users of their machines are given cards from which they can
 6   determine whether they have won.        Whether the players choose to
 7   use the cards or an electronic depiction of the card is not
 8   relevant so long as prizes are awarded based on the card.
 9   Nothing in the letter of the law dictates the pace, nature, or
10   style of bingo games.     See People v. 8,000 Punchboard Card
11   Devices, 142 Cal.App.3d 618, 621 (1983) (rejecting “traditional”
12   definition of bingo).    If Plaintiffs’ and Intervenors’ machines
13   do comply with § 326.5, BGC’s threatened seizure constitutes a
14   due process violation.     Thus, the moving parties have raised
15   serious questions as to whether the BGC’s actions violate their
16   constitutional rights.
17        Plaintiffs and Intervenors have also raised serious
18   questions as to whether enforcement of § 326.5 violates the ADA.
19   42 U.S.C. § 12132 states:
20        [N]o qualified individual with a disability shall, by
21
          reason of such disability, be excluded from participation
          in or be denied the benefits of the services, programs, or
22        activities of a public entity, or be subjected to
          discrimination by any such entity.
23
     BGC argues that bingo games are not “services, programs, or
24
     activities of a public entity” and are therefore not protected
25
     by the statute.   However, the Ninth Circuit has found that Title
26
     II of the ADA applies not only to voluntary programs, but to the
27
     enforcement of laws.     See McGary v. City of Portland, 386 F.3d
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 1   1259, 1268 (9th Cir. 2004) (ADA applied to enforcement of
 2   municipal ordinance).
 3         BGC also argues that because its policy is facially
 4   neutral, it has not discriminated against the disabled.           The
 5   Ninth Circuit has specifically rejected this reasoning.           McGary,
 6   386 F.3d at 1265 (“We have repeatedly recognized that facially
 7   neutral policies may violate the ADA when such policies unduly
 8   burden disabled persons, even when such policies are
 9   consistently enforced.”)      Although the seizure of bingo machines
10   may be evenly enforced, it may still disproportionately affect
11   the disabled in violation of the ADA.
12         BGC also argues that there may be other potential
13   reasonable accommodations.      These are facts that should be
14   developed during discovery and fully litigated at a trial.           At
15   this point, however, BGC threatens to seize the machines without
16   any accommodation for disabled players.        Therefore, Plaintiffs
17   and Intervenors have demonstrated that there is a serious
18   question of whether BGC’s threatened seizure of their electronic
19   bingo machines violates the ADA.
20         Finally, the balance of hardships strongly favors the
21   moving parties.    If their machines are seized local charities
22   will lose a major revenue source, the disabled will lose an
23   important form of entertainment, and VGT and Capital Bingo will
24   lose property, the value of which they may not be able to
25   recover from the state.
26   //
27   //
28   //


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 2        Accordingly, because the Balance of hardships strongly
 3   weighs in favor of the Plaintiffs and Intervenors,
 4   Nothwithstanding defendants arguments in opposition, and because
 5   serious questions Going to the merits of this case have been
 6   raised by Plaintiffs and Intervenors, an Order shall issue
 7   granting Plaintiffs’ and Intervenors motion for a preliminary
 8   injunction. For the time being, electronic BINGO shall continue
 9   to be played in the charitable bingo halls involved in this
10   action.
11

12                               ORDER
13   IT IS HEREBY ORDERED that a preliminary injunction is entered,
14   effective as of June 25, 2008, at 5:00 P.M., restraining and
15   enjoining Defendants and any other person and/or entity or
16   agency acting in concert or participation with them (including,
17   but not limited to, the California Attorney General and any
18   other division or bureau of the California Department of
19   Justice), from enforcing in any manner (including, but not
20   limited to, seizing electronic bingo aids, commencing criminal
21   prosecutions, and halting the play of charitable bingo) the
22   cease-and-desist orders issued by the Bureau on Gilman Street
23   Bingo in Berkeley (served May 12, 2008), the Sacramento Bingo
24   Center in Sacramento (served May 7, 2008), the Mayhew Community
25   Bingo Center in Sacramento (served May 8, 2008), the North Watt
26   Bingo Parlor in Sacramento (served May 8, 2008), the Madison
27   Mall Bingo Center in Sacramento (served May 8, 2008), the
28   American Legion (served on May 13, 2008), and Capital


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 1   Freelancers (served on or about May 7, 2008).        No bond is
 2   required.
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 4   IT IS SO ORDERED.
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 6   Date:June 30, 2008            _____________________________
                                   JOHN A. MENDEZ,
 7                                 UNITED STATES DISTRICT JUDGE
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